                  UNITED STATES BANKRUPTCY COURT
                  MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Larry Veron Hogg
                                          Case No.: 1-20-01725HWV

                                                            Chapter 13
                      Debtor(s)

                            NOTICE OF FINAL CURE PAYMENT

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
cure the pre-petition and post-petition default in the claim below has been paid in full and the
debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  M&T
 Court Claim Number:             01
 Last Four of Loan Number:       4776
 Property Address if applicable: 5611 Mount Pisgah Rd

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.      Allowed prepetition arrearages:                                     $6,260.72
 b.      Prepetition arrearages paid by the trustee:                         $6,260.72
 c.      Amount of postpetition fees, expenses, and charges                  $0.00
         recoverable under Bankruptcy Rule 3002.1(c):
 d.      Amount of postpetition fees, expenses, and charges                  $0.00
         recoverable under Bankruptcy Rule 3002.1(c) and paid
         by the trustee:
 e.      Allowed postpetition arrearage:                                     $0.00
 f.       Postpetition arrearage paid by the trustee:                        $0.00
 g.       Total b, d, and f:                                                 $6,260.72

 PART 3: POSTPETITION MORTGAGE PAYMENT
 Mortgage is/was paid directly by the debtor(s).
PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their
counsel, and the trustee, within 21 days after service of this notice, a statement indicating
whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
current on all postpetition payments as of the date of the response. Failure to file and serve the
statement may subject creditor to further action of the court, including possible sanctions.




Case 1:20-bk-01725-HWV          Doc 101     Filed 06/22/23      Entered 06/22/23 10:03:03          Desc
                                            Page 1 of 4
To assist in reconciling the claim, a history of payments made by the trustee is attached to copies
of this notice sent to the debtor(s) and the creditor.


Dated: June 22, 2023
                                                       Respectfully submitted,


                                                       /s/ Jack N. Zaharopoulos
                                                       Standing Chapter 13 Trustee
                                                       Suite A, 8125 Adams Drive
                                                       Hummelstown, PA 17036
                                                       Phone: (717) 566-6097
                                                       Fax: (717) 566-8313
                                                       email: info@pamd13trustee.com




Case 1:20-bk-01725-HWV          Doc 101      Filed 06/22/23     Entered 06/22/23 10:03:03         Desc
                                             Page 2 of 4
                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


    Re:       Larry Veron Hogg                               Case No.: 1-20-01725HWV

                                                             Chapter 13

                                  CERTIFICATE OF SERVICE


 I certify that I am more than 18 years of age and that on June 22, 2023 I served a copy of this
 Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown, PA,
 unless served electronically.

   Served Electronically
   Brent Diefenderfer, Esquire
   CGA Law Firm
   135 North George St
   York PA 17401


   Served by First Class Mail
   M&T Bank
   PO Box 1288
   Buffalo NY 14240-01288

   Larry Veron Hogg
   5611 Mount Pisgah Rd
   York PA 17406


  I certify under penalty of perjury that the foregoing is true and correct.



  Date: June 22, 2023                                   /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




Case 1:20-bk-01725-HWV           Doc 101    Filed 06/22/23      Entered 06/22/23 10:03:03     Desc
                                            Page 3 of 4
                                               Disbursements for Claim
Case: 20-01725            LARRY VERON HOGG
         M & T BANK
                                                                                      Sequence: 24
         P.O. BOX 1288
                                                                                         Modify:
                                                                                     Filed Date: 6/26/2020 12:00:00AM
         BUFFALO, NY 14240-
                                                                                     Hold Code: D
 Acct No: 4776/PRE ARREARS/5611 MOUNT PISGAH RD
         8/10/22 - 2ND AP TO PAY ONLY $6,260.72 AND BALANCE THROUGH LOAN MODIFICATION


                                                 Debt:             $6,260.72      Interest Paid:              $0.00
        Amt Sched:                $80,899.00                                        Accrued Int:               $0.00
         Amt Due:         $0.00                   Paid:            $6,260.72       Balance Due:                $0.00

Claim name                              Type      Date             Check #     Principal    Interest       Total Reconciled
                                                                                                 DisbDescrp
 5200        M & T BANK
520-0 M & T BANK                                07/13/2022         9014291      $598.03       $0.00     $598.03 07/13/2022


520-0 M & T BANK                                06/14/2022         9014083      $598.03       $0.00     $598.03 06/14/2022


520-0 M & T BANK                                04/12/2022         9013657      $598.03       $0.00     $598.03 04/12/2022


520-0 M & T BANK                                03/16/2022         9013439      $598.03       $0.00     $598.03 03/16/2022


520-0 M & T BANK                                02/16/2022         9013216      $598.03       $0.00     $598.03 02/16/2022


520-0 M & T BANK                                01/19/2022         9012993      $598.03       $0.00     $598.03 01/19/2022


520-0 M & T BANK                                12/15/2021         9012752      $598.03       $0.00     $598.03 12/15/2021


520-0 M & T BANK                                11/16/2021         9012502      $598.02       $0.00     $598.02 11/16/2021


520-0 M & T BANK                                10/14/2021         9012249      $615.72       $0.00     $615.72 10/14/2021


520-0 M & T BANK                                09/14/2021         9011998      $552.77       $0.00     $552.77 09/14/2021


520-0 M & T BANK                                07/14/2021         9011479      $188.00       $0.00     $188.00 07/14/2021


520-0 M & T BANK                                06/16/2021         9011215      $120.00       $0.00     $120.00 06/16/2021


                                                                Sub-totals: $6,260.72         $0.00   $6,260.72

                                                               Grand Total: $6,260.72         $0.00




         Case 1:20-bk-01725-HWV           Doc 101         Filed 06/22/23     Entered 06/22/23 10:03:03      Desc          1
                                                          Page 4 of 4
